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  IT IS ORDERED as set forth below:



   Date: July 1, 2021
                                                        _________________________________

                                                                 Barbara Ellis-Monro
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________

                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE                                        :      CHAPTER 7
                                              :
 LENA CHRISTINE JENKINS-SMITH,                :      CASE NO. 20-62899-BEM
                                              :
      Debtor.                                 :
 __ __ __ _ __ __ __ __ __ __ __ __           :   __ __ __ __ __ __ __ __ __ __ __
                                              :

                                    CONSENT ORDER
       This matter is before the Court on the Motion of Suntrust Bank now Truist Bank to

Extend Time for Filing Complaint to Determine Dischargeability of Debt Pursuant to 11

U.S.C. Section 523 and/or Complaint Objecting to Discharge Pursuant to 11 U.S.C. Section

727 filed June 28, 2021 (Doc. No. 90). Good cause having been shown for the extension

requested and the Debtor consenting to the extension as to Suntrust Bank now Truist Bank,

       IT IS HEREBY ORDERED that the time within which Suntrust Bank now Truist Bank

may file a Complaint to determine dischargeability of debt pursuant to 11 U.S.C. Section 523
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and/or Complaint objecting to discharge pursuant to 11 U.S.C. Section 727 is hereby extended

through and including September 30, 2021.

                                 –END OF DOCUMENT--

Prepared by and consented to:
The Law Office of
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Attorney for Movant

By:__/s/____________________________
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Consented to:
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